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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


DAVID SEAMAN,

        Plaintiff,

v.                                          Civil Action No. 3:18-cv-401

IAC/INTERACTIVECORP, INC.,
et al.,

        Defendants.

                                MEMORANDUM OPINION

        This matter is before the Court on the MOTION TO DISMISS BY

DEFENDANTS IAC/INTERACTIVECORP AND THE DAILY BEAST COMPANY LLC FOR

IMPROPER VENUE AND FAILURE TO STATE A CLAIM (ECF No. 13) and the

DEFENDANTS'      MOTION    TO   TRANSFER   VENUE   (ECF   No.   21).    For   the

following reasons,        the Court will grant DEFENDANTS'             MOTION TO

TRANSFER VENUE (ECF No. 21) and the case will be transferred to

the United States District Court for the Southern District of New

York     ("SONY").     The Court will deny the MOTION TO DISMISS BY

DEFENDANTS IAC/INTERACTIVECORP AND THE DAILY BEAST COMPANY LLC FOR

IMPROPER VENUE AND FAILURE TO STATE A CLAIM (ECF No. 13) as it

pertains to improper venue as moot, and leave consideration of the

MOTION TO DISMISS BY DEFENDANTS IAC/INTERACTIVECORP AND THE DAILY

BEAST COMPANY LLC FOR IMPROPER VENUE AND FAILURE TO STATE A CLAIM

(ECF No. 13) as it pertains to failure to state a claim to the

SONY.
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                                   BACKGROUND

       David    Seaman     ("Seaman")        filed        this      action    against

IAC/InterActiveCorp, Inc. ("IAC") and The Daily Beast Company, LLC

("Daily Beast"}       (hereinafter referred to as                  "the Defendants"}

alleging defamation per se (Count I}, insulting words (Count II},

unauthorized use of name and picture in violation of Va. Code§

8.01-40     (Count III},   and permanent injunction                 (Count IV}. 1 See

generally Compl.      (ECF No. 1}; id.      CJ[CJ[   23-43. Seaman's claims arise

out of an article published by the Daily Beast on March 24, 2017.

I .    Factual Background

       IAC is a public \\e-commerce media company" incorporated in

Delaware with its principal place of business in New York. 2 Id.                      CJ[


2. The Daily Beast, an online news and entertainment source, is a

limited     liability    company    organized          under      Delaware   law   with

\\headquarters"     in   New   York,   West          Hollywood,     the   District   of




1 Originally, Seaman also sued Jennings Brown ("Brown"}, a citizen
of New York, and the author of the article in question. Compl. CJ[
4. However, on December 28, 2018, Seaman voluntarily filed a NOTICE
OF DISMISSAL OF CLAIMS AGAINST DEFENDANT, JENNINGS BROWN, ONLY
(ECF No. 18) . All claims against Brown were dismissed without
prejudice.
2 Seaman alleges that IAC is '\certified and registered to transact
business in Virginia," \'derives substantial revenues from the
business it transacts in Virginia," and "maintains a registered
agent in Glen Allen, Virginia." Compl. CJ[ 2. IAC does not deny these
allegations.

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Columbia, and Chicago. Id.                   'jJ:        3. "IAC is the sole member of the

Daily Beast." Id.

          Seaman is a 32-year-old resident of the District of Columbia.

Id.     'jJ:   1.   He alleges      that       he         is    a   "journalist,             investigative

reporter,           researcher,      pundit,              author     and publisher"              who    "has

reported on matters of great public concern, including #pedogate 3

- child sex trafficking, ritualistic murder, torture, kidnapping,

rape,          child sex slavery,          and the global network of child sex

traffickers and pedophile rings for rich and powerful people in

the       elite      ruling       classes,               Hollywood      and          the     entertainment

industry." Id. Because of his reporting, he alleges that he has

been censored by online entities such as YouTube and "attacked by

left-wing media giants, such as IAC/Daily Beast." Id.

         Seaman's claims against the Defendants arise out of an article

written by Jennings Brown and published in the Daily Beast on March

24, 2017. Id.           'jJ:   11; ECF No. 14, Ex. A (article). That article,

titled "The Self-Proclaimed 'Publicity Whore' and Fired Jezebel

Intern Running Point on Pizzagate," allegedly contained false and

defamatory            statements           about               Seaman          and         his   role     in

Pizzagate/Pedogate.               Compl.      'jJ:'jJ:    11-12.     Seaman characterizes               the

article as a "hit piece" against him, id.                               'jJ:    16, and alleges that

it was shared and republished by the Daily Beast and others on the


3 "Pedogate" is also referred to as "Pizzagate." See, e.g., Compl.
i 9, 12.
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Internet. Id.                     ':l[':I[   13-18. The "sole purpose" of the article, Seaman

alleges,                  "was        to      further   Defendants'        predetermined agenda:          to

protect                   the     Clintons,         John     Podesta,      Tony   Podesta     and    others

suspected of child sex trafficking and pedophilia,                                           to discredit

David, and to distract from the important mission of investigating

and exposing #pedogate." Id. ':I[ 20.

          Seaman alleges that IAC and the Daily Beast are subject to

both general and specific personal jurisdiction in Virginia.                                             Id.

':I[   7. The Defendants do not deny that they are subject to personal

jurisdiction in Virginia.

II.       Procedural Background

          In              June        2018,       Seaman     filed      the    COMPLAINT     against     the

Defendants (and against Jennings Brown), assertingdefamation per

se,       insulting words,                        unauthorized       use      of name   and picture       in

violation of Va. Code§ 8.01-40, and permanent injunction.                                                See

Compl.         ':1[':I[    23-43 (ECF No. 1). Thereafter, the Defendants filed the

MOTION TO DISMISS BY DEFENDANTS IAC/INTERACTIVECORP AND THE DAILY

BEAST COMPANY LLC FOR IMPROPER VENUE AND FAILURE TO STATE A CLAIM

 (ECF No.                 13) .      On the same day that he filed his MEMORANDUM IN

OPPOSITION TO DEFENDANTS' MOTION TO DISMISS (ECF No. 19), Seaman

also filed his NOTICE OF DISMISSAL OF CLAIMS AGAINST DEFENDANT,

JENNINGS BROWN, ONLY (ECF No. 18).

          Because Seaman's dismissal of Brown appeared to correct the

venue       issue,                see         ECF No.   20    at   2,    the    Defendants    then     filed

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DEFENDANTS' MOTION TO TRANSFER VENUE (ECF No. 21) in which they

seek a   transfer to    the United States      District Court     for   the

Southern District of New York ("SONY"). ECF No. 21 at 1. Seaman

opposes both motions. See generally ECF Nos. 19, 23.

     Both motions have been fully briefed and the matter is ripe

for decision.

                               DISCUSSION

     For the reasons set forth below,        the Court concludes that

this case has insufficient connection to Virginia or the Eastern

District of Virginia ( "EDVA") to warrant continuation of the action

here, and that it is appropriate to transfer the case to the SONY.

Accordingly, the DEFENDANT'S MOTION TO TRANSFER VENUE (ECF No. 21)

will be granted. Further, as set forth below, the MOTION TO DISMISS

BY DEFENDANTS IAC/INTERACTIVECORP AND THE DAILY BEAST COMPANY LLC

FOR IMPROPER VENUE AND FAILURE TO STATE A CLAIM (ECF No. 13) will

be denied,   as moot,   insofar as it seeks dismissal for lack of

proper venue.   The challenge to the Complaint under Fed. R. Civ.

P. 12(b) (6) should be decided by the transferee court.

I.   MOTION TO DISMISS BY DEFENDANTS IAC/INTERACTIVECORP AND THE
     DAILY BEAST COMPANY LLC FOR IMPROPER VENUE AND FAILURE TO
     STATE A CLAIM (ECF NO. 13)

     Before proceeding to the DEFENDANTS' MOTION TO TRANSFER VENUE

(ECF No. 21), the Court briefly addresses the MOTION TO DISMISS BY

DEFENDANTS IAC/INTERACTIVECORP AND THE DAILY BEAST COMPANY LLC FOR

IMPROPER VENUE AND FAILURE TO STATE A CLAIM (ECF No. 13).          In that

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motion,       the    Defendants      argue     that   venue    is     improper      in    this

district because: (1) "not all defendants reside in Virginia";                             (2)

a "substantial part of the events or omissions giving rise to the

claim"    did       not   occur     in   the   Eastern   District       of   Virginia       or

Richmond division; and (3) the catch-all venue provision does not

apply because venue is proper elsewhere.                      ECF No. 14 at 9-10; 28

U.S.C.    §   1391(b) (1)-(3).

       The     Complaint,      as     originally      filed,    presented       a    serious

question as to whether the EDVA is a proper venue for Seaman's

action.       In the face of the Defendants' arguments, Seaman dismissed

Jennings Brown as a defendant in the action. See ECF No. 18. Now,

as both parties agree, venue in this district is proper under 28

U.S.C. § 1391(b) (1) because both IAC and the Daily Beast "reside"

in Virginia.         Entities "with the capacity to sue and be sued in

[their]       common      name(s]     under     applicable     law,    whether       or    not

incorporated . . . reside, if a defendant, in any judicial district

in    which     such      defendant      is    subject   to    the    court's       personal

jurisdiction with respect to the civil action in question." 28

U.S.C.    §   1391(c) (2).        IAC and the Daily Beast have not raised a

personal jurisdiction challenge, 4 see ECF No. 24 at 5 n.5 (noting




4 Under Fed. R. Civ. P. 12(h) (1), a personal jurisdiction defense
is waived if not properly raised by, inter alia, a proper motion
or responsive pleading. Such a defense has not been raised by the
Defendants.


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that they did not raise personal jurisdiction to avoid "inevitable

jurisdictional discovery"), and concede that venue is now proper

under    §   1391 (b) ( 1) .     See   ECF No.      20   at   1-2   ( "Seaman has   now

dismissed Brown . . . to come within 28 U.S.C. § 1391(b) (1) .").

        Accordingly,           the     MOTION       TO   DISMISS      BY   DEFENDANTS

IAC/INTERACTIVECORP AND THE DAILY BEAST COMPANY LLC FOR IMPROPER

VENUE AND FAILURE TO STATE A CLAIM (ECF No. 13) will be denied

insofar as it pertains to improper venue.

        And because, as set forth below, the case must be transferred,

it is appropriate that this Court not consider the Defendants'

request for dismissal under Fed. R. Civ. P. 12(b) (6) for failure

to state a claim. See U.S.A. ex rel. Advance Concrete, LLC v.

T.H.R. Enterprises, Inc., No. 2:15cv477, 2016 WL 3002408, *5 (E.D.

Va.   May 19,     2016)        (" [B] ecause the Court has ordered this case

transferred, it declines to rule on the Defendants' Rule 12(b) (6)

Motions to Dismiss, as the transferee court is the more appropriate

forum to address those Motions.").

II.     Transfer Under 28 U.S.C. § 1404(a) Is Warranted

        In the DEFENDANT'S MOTION TO TRANSFER VENUE (ECF No. 21) under

28 U.S.C. § 1404, the Defendants move to transfer this case to the

SONY. Their motion is well-taken and, therefore, the case will be

transferred.




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          A.    Legal Framework For Transfers Under§ 1404(a)

     28    U.S.C.     §   1404 (a),       which permits the transfer of civil

actions, provides that:

               For the convenience of parties and witnesses,
               in the interest of justice, a district court
               may transfer any civil action to any other
               district or division where it might have been
               brought or to any district or di vision to
               which all parties have consented.

In analyzing a motion seeking transfer under Section 1404, it is

necessary      to   decide:    " ( 1)     whether   the    claims    might   have    been

brought in the transferee forum,                 and (2) whether the interest of

justice    and      convenience      of    the   parties    and     witnesses    justify

transfer to that forum."                Hengle v. Curry, No. 3:18-cv-100, 2018

WL 301628 9, * 5 ( E. D. Va. June 15, 2018)                ( quoting Koh v. Microtek

Int'l, Inc., 250 F. Supp. 2d 627, 630 (E.D. Va. 2003)); see also

Fitzgibbon v.        Radack,   No.      3:18-cv-247,      2019 WL 470905,       *2   (E.D.

Va. Feb. 6, 2019).

     The first part of the test requires the movant to "establish

that both venue and jurisdiction with respect to each defendant is

proper in the transferee district." Hengle, 2018 WL 3016289 at *5.

The second part of the test requires the consideration of several

factors, which are: "(1) the weight accorded to plaintiff's choice

of venue;      (2) witness convenience and access;                (3) convenience of

the parties; and (4) the interest of justice." Trs. of the Plumbers




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&   Pipefitters Nat. Pension Fund v. Plumbing Servs., Inc., 791 F.3d

436, 444 (4th Cir. 2015); Fitzgibbon, 2019 WL 470905 at *2. 5

       A district court has discretion to decide motions to transfer

according to an "individualized,           case-by-case consideration of

convenience and fairness." Stewart Org., Inc. v. Ricoh Corp., 487

U.S.    22,   2 9 ( quoting Van Dusen v.    Barrack,    37 6 U.S.   612,   622

(1964)); Fitzgibbon, 2019 WL 470905 at *2;          One Beacon Ins. Co. v.

JNB Storage Trailer Rental Corp., 312 F. Supp. 2d 824, 828 (E.D.

Va. 2004)     (the decision to transfer is "committed to the sound

discretion of the district court"). The moving party,               here the

Defendants, have the burden of showing that transfer is proper.

Byerson, 467 F. Supp. 2d at 631. In fact, the Defendants must show

that the balance of convenience among the parties and witnesses

"is beyond dead center, and strongly favors the transfer sought."

Medicenters of America, Inc. v. T & V Realty & Equip. Corp., 371

F. Supp. 1180, 1184 (E.D. Va. 1974).

       The relevant factors will be considered in turn.



5 Other cases have framed the factors to be considered slightly
differently. For example, in Byerson v. Equifax Info. Servs., LLC,
467 F. Supp. 2d 627, 631 (E.D. Va. 2006) (citation omitted), the
Court "consider[ed] and balance[d] several factors," including:
"(1) ease of access to sources of proof; (2) the convenience of
the parties and witnesses; (3) the cost of obtaining the attendance
of witnesses; (4) the availability of compulsory processes; (5)
the interest in having local controversies decided at home; (6) in
diversity cases, the court's familiarity with the applicable law;
and (7) the interest of justice." The Court will rely on the Fourth
Circuit's more streamlined factor test here.
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             B. Seaman Could Have Brought This Action In The Southern
                District Of New York

        The first inquiry is whether the transferee forum-the SDNY-

has jurisdiction over this action and whether it is a proper venue.

See Hengle, 2018 WL 3016289 at *5. Seaman concedes that he could

have brought this case in the SDNY. 6 Seaman's concession is wise.

Jurisdiction-both         subject matter        and   personal-exists   over    the

Defendants       in   the    SDNY.    Subject     matter   jurisdiction    exists

pursuant to 28 U.S.C. § 1332 because Seaman and the Defendants are

citizens of different states and the amount in controversy exceeds

$75,000. See Compl. i i 1-3, 5 (ECF No. 1). Personal jurisdiction

exists over the Defendants because each has its principal place of

business in New York. Id. i i 2-3; ECF No. 22 at 4; Daimler AG v.

Bauman, 571 U.S. 117, 137 (2014)            (citation omitted) (alteration in

original)        ("With     respect   to    a    corporation,   the     place    of

incorporation and principal place of business are paradig(m] . .

. bases for general jurisdiction."). Accordingly, the SONY would

have jurisdiction over these Defendants.

        The SONY is also a proper venue for this action. See 28 U.S.C.

§    1391.    Venue is proper under Section 1391 (b) (1)              because the

Defendants both "reside" in New York because they are subject to

personal jurisdiction there.               Venue is also proper in the SONY


6 See ECF No. 23 at 2 n. 2 ( "This action also could have been brought
in the District Court for the Southern District of New York, where
Defendants are subject to personal jurisdiction.").
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under Section 1391(b} (2} because "a substantial part of the events

or   omissions     giving     rise     to   the     claim occurred." To wit,                the

"reporting,       writing,    editing and publication of the Article" at

issue occurred in the SONY. ECF No. 22 at 5.

        Because jurisdiction and venue would both be proper in the

SONY, Seaman could have brought this case there, thus satisfying

the first inquiry required for transfer.

           C. The 1404(a) Factors Weigh In Favor Of Transfer

        As outlined above, the factors to be considered for a Section

1404(a}     transfer       motion      are:        "(l}       the    weight      accorded    to

plaintiff's choice of venue;                (2} witness convenience and access;

(3} convenience of the parties; and (4) the interest of justice."

Trs. of the Plumbers & Pipefitters Nat. Pension Fund, 791 F.3d at

444;     Fitzgibbon,    2019 WL       470905 at           *2.   These        factors   strongly

support transfer to the SONY.

                    1. Seaman's Choice Of Forum

        "As a general rule, a plaintiff's 'choice of venue is entitled

to     substantial     weight        in     determining             whether      transfer    is

appropriate.'" Trs.          of the Plumbers              &   Pipefitters Nat.         Pension

Fund,    791     F.3d at     444    (quoting       Bd.    of Trs.       v.    Sullivant Ave.

Props., LLC, 508 F. Supp. 2d 473, 477 (E.D. Va. 2007}}; Fitzgibbon,

2019 WL 470905 at *3.              But, if the plaintiff's choice of forum is

neither the nucleus of operative facts nor the plaintiff's home

forum,     the    plaintiff's        choice        is     accorded      less     weight.    See

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Intranexus, Inc. v. Siemens Med. Sols. Health Servs. Corp., 227 F.

Supp. 2d 581, 583 (E.D. Va. 2002). Even then, the choice of forum

is relevant if there is a connection between the forum and the

plaintiff's claim that logically supports the plaintiff's decision

to bring the case in the chosen forum. See Mullins v. Equifax Info.

Servs., LLC, No. 3:05-cv-888, 2006 WL 1214024, *5 (E.D. Va. April

28, 2006).

     Seaman argues that he "chose Virginia because he suffered

damage to his reputation" there. ECF No. 23 at 6. His choice of

venue is entitled to "great deference," he argues,            because the

"Daily Beast published an online article that it knew or should

have known would be read by its subscribers and followers                in

Virginia." Id.

     However, Seaman is in error when he argues that his choice of

forum is entitled to "great deference" in this case.         First, it is

uncontroverted that the EDVA is not Seaman's home forum (that is

the District of Columbia). See, e.g. Compl.        ~   1 (ECF No. 1); ECF

No. 23 at 6. Second, the offending act at issue-the publication of

the article-did not occur in Virginia. See, e.g., Hengle, 2018 WL

3016289 at *9; Koh, 250 F. Supp. 2d at 635; Intranexus, 227 F.

Supp. 2d at 583. The article at issue was researched, written, and

published in New York. Its subject matter has nothing to do with

Virginia.



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        It is true that the article could have been accessed on the

Internet in Virginia and that IAC has a registered agent in the

Commonwealth. 7 See ECF No. 24 at 4. It is also true that some of

the alleged reputational injury occurred in Virginia.                   However,

those tethers to Virginia are insufficient to warrant according

Seaman's choice of forum any significant preference.

        The   first   alleged    connection     (Internet     access)    has    no

limiting      principle   when   it   comes   to     online   publications.     If

accepted, that notion would mean that, in similar cases involving

online publications, a plaintiff's choice of forum would be given

significant weight in virtually any judicial district because the

Internet      is   everywhere.     And,     having    a   registered    agent   in

Virginia, without more, is insufficient to connect this action to

the EDVA. See GTE Wireless, Inc. v. Qualcomm, Inc., 71 F. Supp. 2d

517,    519   (E.D. Va. 1999)    (holding that,      even though a defendant

was "registered to conduct business in Virginia," the plaintiff's

choice of forum was not entitled to dispositive deference).

        Simply put, the EDVA is not Seaman's home forum and there is

no logical connection between the events in this case and this

district. Thus, Seaman's choice of forum is entitled only to slight



7   Further, al though Seaman's counsel has off ices in Virginia,
"convenience to counsel is not an appropriate consideration in
resolving a motion to transfer venue." Koh, 250 F. Supp. 2d at
635; Acterna, L.L.C. v. Adtech, Inc., l~F. Supp. 2d 936, 939
( E . D. Va . 2001 ) ( same ) .
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deference.     And, on the facts of this case, the SONY is a more

appropriate venue because the article at issue was written there,

the Defendants reside there, and the witnesses, for the most part,

are located there.

                  2. Convenience of the Witnesses

     The convenience of witnesses is of considerable importance

when considering a transfer, especially the convenience of non-

party witnesses, whose location should be afforded greater weight

in deciding a motion to transfer venue. See Fitzgibbon, 2019 WL

470905 at *4; Hengle, 2018 WL 3016289 at *10; Koh, 250 F. Supp. 2d

at 636-37. The party asserting witness inconvenience must offer

sufficient details respecting the witnesses and their potential

testimony,    "by affidavit or otherwise," to enable the Court to

assess the materiality of evidence and the degree of inconvenience.

Koh, 250 F. Supp. 2d at 636 (emphasis added). In other words, "the

influence of this factor cannot be assessed in the absence of

reliable     information   identifying     the   witnesses   involved   and

specifically describing their testimony." Bd. of Trs., Sheet Metal

Workers Nat. Fund v. Baylor Heating & Air Conditioning, Inc., 702

F. Supp. 1253, 1258 (E.D. Va. 1988) (footnote omitted). To satisfy

their burden that a        forum is   inconvenient for witnesses,       the

Defendants must provide particularized information of a witness's

potential     testimony,   how that    testimony   is material   and non-

cumulative,    or the degree to which it will be inconvenient to

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access that testimony in this district. See Koh, 250 F. Supp. 2d

at 636.

        The   Defendants    argue    that    witness     convenience    "weigh[s)

overwhelmingly in favor of transfer." ECF No. 22 at 6.                   That is

so, say the Defendants, because Jennings Brown, a non-party who

lives in New York,         is likely to be the key witness in Seaman's

case because the article he wrote is the source of Seaman's legal

claims. Id. Under Fed. R. Civ. P. 45, Brown cannot be subpoenaed

to attend trial in this Court because he lives more than 100 miles

from Virginia. See Fed.         R.   Civ.    P.   45 (c) (1); ECF No.   22 at 6.

Defendants also argue that other non-party witnesses,                    such as

"current or former employees of Jezebel and The Huffington Post,

two     New   York-based    publications,         who   can   testify   regarding

Seaman's claims about his termination from each publication," are

located in New York. ECF No. 22 at 7.               Seaman responds by arguing

that the Defendants have not sufficiently shown what the identified

witnesses would testify about or that recorded testimony would be

insufficient. See ECF No. 23 at 8-9.              And, Seaman is correct.     The

Defendants here (as is all too often true} have not specified what

testimony the identified witnesses have to offer or why recorded

testimony would not suffice.

        All too often lawyers seem to think that their burden on this

facet     of the test can be carried by reciting the number and

location of witnesses.         Counsel here made the same misjudgment.

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Often, that lapse is fatal to a transfer motion.              Here, it is not

because, even though the Defendants have not submitted an affidavit

about the subject of each witnesses'             testimony,   it is a fairly

elementary proposition that the author of an allegedly defamatory

article (Brown) is a key witness about the writing of the article,

the research he did, and the claims he asserts in the article. See

Koh, 250 F. Supp. 2d at 636 (describing that witness testimony can

be offered "by affidavit or otherwise"). The Court credits the

Defendants' assertion that Brown will be a key witness and finds

that Seaman has provided no evidence of any witnesses or evidence

located in this District. Nor has Seaman disputed that the other

non-party witnesses are in the SDNY. Thus,               on this record,      and

even considering that the Defendants have not fully lived up to

their obligations, this factor slightly favors transfer.

                     3. Convenience of the Parties

       The   third    factor   is   the    convenience   to   the   parties    in

litigating in either venue. See Fitzgibbon, 2019 WL 470905 at *3;

Koh, 250 F. Supp. 2d at 638-39. The Defendants, as movants, must

show {1) that the original forum is inconvenient for them and (2)

that   Seaman    will    not   be   substantially   inconvenienced      by    the

transfer. Fitzgibbon, 2019 WL 470905 at *3; Koh, 250 F. Supp. 2d

at 636.      The residence of the parties is a consideration in this

assessment, but "residence is not a controlling factor and may be

outweighed in the context of a particular case by countervailing

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considerations relevant to the convenience of the witnesses and

the interest of justice." 15 Fed. Prac. & Proc. Juris.§ 3849 (4th

ed.} .

         Because the Defendants reside in New York and Seaman resides

in the District of Columbia, the Defendants concede that Seaman

"might be mildly inconvenienced by having to travel to New York

for hearings and/or trial" and that "this factor at most does not

weigh strongly in either direction." ECF No. 22 at 7. Seaman argues

that, at most, transfer to New York just shifts the balance of

inconvenience to him. ECF No. 23 at 7.

         The   Court   concludes     that    this   factor          supports    transfer.

First, whether the case is in this Court or the SDNY, Seaman will

be inconvenienced because he does not live in Richmond (or anywhere

in Virginia}. It is true that the distance between the District of

Columbia and New York is greater than                            the distance   from the

District of Columbia to Richmond. But, Seaman has not identified

any reason why he would not or could not travel to New York. See

StrikeForce Techs.,          Inc.   v.   SecureAuth Corp.,             No.   1: 17-cv-307,

2017 WL 8809781,        *2   (E.D. Va. June 9, 2017}                 ("Plaintiff is not

located in either [the transferee forum] or the EDVA. Accordingly,

Plaintiff will likely be flying to the forum regardless of whether

that forum is the EDVA or California.               11
                                                         }   •   Second, the case that

Seaman cites for his argument that transfer merely "shift[s] the

balance of inconvenience" to him, VS Techs., LLC v. Twitter, Inc.,

                                            17
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No.    2:11-cv-43,      2011 WL 11074291,           *7    (E.D.    Va.    June 28,      2011),

does not support him on the facts in this case. In VS Techs., one

of the key agents of the plaintiff, VS Technologies, was "located

in the Eastern District of Virginia." Id.                         No similar connection

to Virginia or the EDVA exists in this case.

        Lastly,   while the SONY will require some additional travel

for    Seaman,    it    will    be   significantly more             convenient       for    the

Defendants, their witnesses, and the production of evidence. See

Baylor Heating, 702 F. Supp. at 1259. When a "plaintiff chooses a

forum away from home," then "plaintiff's venue choice is given

less     weight    and     if    the   venue        substantially          inconveniences

defendants, transfer may be ordered." Id. Because Virginia is not

Seaman's home forum, he has not identified any reason why he cannot

travel to New York or how he would be inconvenienced, and the SONY

will be significantly more convenient for the Defendants,                                  this

factor supports transfer.

                       4. The Interest of Justice

        The last factor for the Court to consider is "the interest of

justice,"     which      encompasses     public          interest     factors      aimed     at

"systemic integrity and fairness."                   Stewart Org.,          Inc.   v.    Ricoh

Corp., 487 U.S. 22, 30 (1988). Judicial economy and the avoidance

of     inconsistent      judgments     are        prominent       among    the     principal

elements of systemic integrity. See Fitzgibbon, 2019 WL 470905 at

*4; U.S.    Ship Mgmt.,         Inc. v. Marsk Line,           Ltd.,       357 F.   Supp.     2d

                                             18
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924, 937-38 (E.D. Va. 2005). Other factors include "the pendency

of a related action, the court's familiarity with the applicable

law, docket conditions, access to premises that might have to be

viewed, the possibility of unfair trial, the ability to join other

parties, and the possibility of harassment." Koh, 250 F. Supp. 2d

at 639.     Systematic integrity "must also.                . take account of a

party's     attempt   to    game    the        federal   courts    through     forum

manipulation." Hengle, 2018 WL 3016289 at *11 (internal quotation

omitted).

     The parties seem to agree that New York substantive law will

apply in this case.        However, it appears as if the substantive law

of Virginia and New York are essentially the same on the three

claims made by Seaman.       Therefore, familiarity with the substantive

law has little relevance in assessing the interest of justice

factor in this case. And, the other factors mentioned in Koh are

not significantly implicated in this case.

     It is true that, because of docket conditions, the case likely

will be resolved more promptly here than in the SONY.                     However,

the docket conditions here and in the SONY are not drastically

different.    Thus, the differences in docket conditions between the

SONY and the EOVA are "minor consideration [s]" that "receive little

weight if all other reasonable and logical factors result in a

transfer of venue."         Koh,   250    F.     Supp.   2d at    639.   The   other

"reasonable and logical factors" support transfer in this case.

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Lastly, the Court has significant concerns about forum shopping.

And, as was explained in Phillips v. Uber Techs., Inc., No. 3;15-

cv-544, 2016 WL 165024, *3 (E.D. Va. Jan. 13, 2016):

               As noted by the EDVA many times over, "[t]his
               Court cannot stand as a willing repository for
               cases which have no real nexus to this
               district.n Cognitronics Imaging Sys., Inc. v.
               Recognition Research Inc., 83 F. Supp. 2d 689,
               699 (E.D. Va. 2000). "The 'rocket docket'
               certainly attracts plaintiff's, but the Court
               must ensure that this attraction does not dull
               the ability of the Court to continue to act in
               an expeditious manner." Id.

Given that this case is only slightly tethered to this district,

Seaman's docket conditions arguments do not carry the day.                       That

is especially so given that the other factors,                     taken as a whole,

militate toward transfer. 8

                                      CONCLUSION

         For    the   reasons   set     forth     above,     the    Defendants   have

satisfied their burden to demonstrate that a Section 1404 transfer

is    warranted.      Accordingly,     the     DEFENDANTS'    MOTION    TO   TRANSFER

VENUE (ECF No. 21) will be granted and the case will be transferred

to the Southern District of New York.               It will be up to that Court

to decide the MOTION TO DISMISS BY DEFENDANTS IAC/INTERACTIVECORP


8 The Court notes that counsel for Seaman has brought at least two
quite similar cases in this District that were subsequently
transferred to different venues because the events at issue had
few, if any, ties to Virginia. See Phillips, 2016 WL 165024
(transfer to SDNY); Falls v. Katmai Support Servs., No. 3:14cv315,
2014 WL 6900916 (E.D. Va. Dec. 5, 2014) (transfer to District of
Alaska).
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AND THE DAILY BEAST COMPANY LLC FOR IMPROPER VENUE AND FAILURE TO

STATE A CLAIM (ECF No. 13) as it pertains to failure to state a

claim.   The MOTION TO DISMISS BY DEFENDANTS IAC/INTERACTIVECORP

AND THE DAILY BEAST COMPANY LLC FOR IMPROPER VENUE AND FAILURE TO

STATE A CLAIM {ECF No. 13) as it pertains to improper venue will

be denied as moot.

     The Court dispenses with oral argument because the facts and

legal conclusions are adequately presented in the materials and

oral argument would not aid in the decisional process.

     It is so ORDERED.



                                                   Isl
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: April -,3-., 2019




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